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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO: 11-20279-CR-SCOLA

  UNITED STATES OF AMERICA,

  v.

  ALEC SIMCHUK,

                       Defendant.
                                     /


                          ORDER REGARDING ATTORNEY
                   REPRESENTATION OF DEFENDANT ALEC SIMCHUK
         THIS MATTER is before the Court on independent review of the record. The Court is
  aware that Defendant Alec Simchuk has been apprehended and hereby enters this Order to advise
  any attorney planning to represent him in this case, as follows:
         1.      This case has been specially set for trial, commencing October 9, 2012. Trial is
  expected to last approximately four to six weeks.
         2.      Any attorney representing Defendant Simchuk must be available and prepared for
  these trial dates. The Court will not continue the trial or extend any special treatment to counsel
  appearing for this Defendant.

         DONE AND ORDERED at Miami, Florida on July 30, 2012.



                                                                          ____
                                                UNITED STATES DISTRICT JUDGE
                                                ROBERT N. SCOLA, JR.

  Copies to:
  Counsel of record
